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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION

TIKTOK INC.,                                        CV 23–61–M–DLC

             Plaintiff,

       v.                                                 ORDER

AUSTIN KNUDSEN, in his official
capacity as Attorney General of the
State of Montana,

             Defendant.


      Before the Court are Plaintiff TikTok Inc.’s motions for the admission of

attorneys Megan A. Crowley and Alexander A. Berengaut of Covington &

Burlington LLP, pro hac vice, in the above-captioned matter. (Docs. 4, 5.) It

appears that Rob Cameron of Jackson, Murdo & Grant, P.C., will serve as local

counsel in this matter. (Docs. 4 at 2, 5 at 2.) Both Ms. Crowley and Mr.

Berengaut’s applications (Docs. 4-1, 5-1) comply with this Court’s Local Rules

governing the admission of counsel pro hac vice. Mont. L.R. 83.1(d).

      Accordingly, IT IS ORDERED that the motions (Docs. 4, 5) are GRANTED

on the condition that Ms. Crowley and Mr. Berengaut each do their own work.

This means that each attorney must: (1) do their own writing; (2) sign their own

pleadings, motions, and briefs; and (3) appear and participate personally. Ms.


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Crowley and Mr. Berengaut shall take steps to register in the Court’s electronic

filing system (CM-ECF). Further information is available on the Court’s website,

www.mtd.uscourts.gov, or from the Clerk’s Office.

      IT IS FURTHER ORDERED that this Order is subject to withdrawal unless

Ms. Crowley and Mr. Berengaut each file a separate pleading acknowledging their

admission under the terms set forth above within fifteen (15) days of this Order.

      DATED this 24th day of May, 2023.




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